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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS
                                    BENTON DIVISION


 KIRBY A. BAUEREISS
                                                          CASE NO.: 3:19-cv-00157
                      Plaintiff,
                                                          JUDGE:
          -v-

 MIDLAND CREDIT MANAGEMENT, INC.                         COMPLAINT
                                                         JURY DEMAND ENDORSED
                      Defendant.                         HEREON


        Plaintiff, Kirby A. Bauereiss, for his complaint against Midland Credit Management, Inc.,

(“Defendant”), states as follows:

                                      NATURE OF THE ACTION

   1.    Plaintiff brings this action seeking damages pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), and the Illinois Consumer Fraud and Deceptive

Business Practices Act, 815 ILCS § 505/10a (“ICFA”), for Defendant’s unlawful collection

practices as more fully described in this complaint.

                                     JURISDICTION AND VENUE

   2.    This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331, 1337, as the

action arises under the laws of the United States. Supplemental jurisdiction exists for the state law

claim pursuant to 28 U.S.C. § 1367.

   3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts business

within the Southern District of Illinois and the events and/or omissions giving rise to the claims

made in this complaint occurred within the Southern District of Illinois.


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                                               PARTIES

   4.    Plaintiff, Kirby A. Bauereiss (“Mr. Bauereiss”), is a natural adult person residing in West

Frankfort, Illinois, which lies within the Southern District of Illinois.

   5.    Mr. Bauereiss is a “consumer” as that term is defined by § 1692a(3) of the FDCPA.

   6.    Mr. Bauereiss is a “person” as that term is defined and/or used within the ICFA.

   7.    Defendant, Midland Credit Management, Inc., is a Delaware corporation in the business

of collecting consumer debts on behalf of others within the State of Illinois and throughout the

United States. As such, Defendant regularly uses the mails and/or telephone to collect, or attempt

to collect, delinquent consumer accounts.

   8.    On its website, Defendant identifies itself as a “debt collector” and has been a member of

the Association of Credit and Collection Professionals since 1991.

   9.    In its correspondences to consumers, Defendant identifies itself as a “debt collector.”

   10. Defendant is a “debt collector” as that term is defined by § 1692a(6) of the FDCPA.

   11. Defendant is a “person” as that term is defined and/or used within the ICFA.

   12. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and/or insurers at all

times relevant to this action.

                                 FACTS SUPPORTING CAUSES OF ACTION

   13.   As Mr. Bauereiss was checking his credit reports, he discovered that Defendant had

accessed his credit information for an “account review” and “collection” purpose on September

18, 2018 and October 6, 2017. Relevant pages from Mr. Bauereiss’s Trans Union credit report,

dated October 9, 2018, are attached to this complaint as Exhibit A.




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  14.    On or around October 9, 2018, Mr. Bauereiss contacted Defendant via phone to ascertain

more information about the entries appearing in his credit report and the debt(s) Defendant was

attempting to collect from him (the “Phone Call”).

  15.    During the Phone Call, Mr. Bauereiss spoke with a representative for Defendant who

identified Defendant as a debt collector attempting to collect upon a debt.

  16.    During the Phone Call, Defendant’s agent represented to Mr. Bauereiss that he owed

Defendant a balance of over $400.00 in connection with a consumer debt Mr. Bauereiss allegedly

incurred to Verizon in 2008 (the “Subject Debt”).

  17.    Mr. Bauereiss did not recognize the Subject Debt as belonging to him.

  18.    The applicable statute of limitations for the Subject Debt states, in relevant part:

               “Except as provided in Section 2-725 of the ‘Uniform Commercial Code’,
               approved July 31, 1961, as amended, and Section 11-13 of ‘The Illinois
               Public Aid Code’, approved April 11, 1967, as amended, actions on
               unwritten contracts, expressed or implied . . . shall be commenced within 5
               years next after the cause of action accrued.” See 735 ILCS § 5/13-205.

  19. Thus, given the applicable five (5) year statute of limitations and the fact that the Subject

Debt fell into delinquency beginning in 2008, as of October 9, 2018, the date of the Phone Call,

the Subject Debt was a time-barred debt, i.e., it fell outside the applicable statute of limitations.

  20.    During the Phone Call, Defendant’s agent stated, in relevant part:

               “The law limits how long you can be sued on a debt. Because of the
               age of this debt, we will not sue you for it.”

  21.    Defendant’s agent attempted to collect payment of the Subject Debt from Mr. Bauereiss

during the Phone Call, including offering him a discount, settlement and/or payment plan.

  22.    The Phone Call gave the false impression that Defendant had chosen not to sue Mr.

Bauereiss, not that it was legally barred from doing so.




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  23.    Despite the time-barred status of the Subject Debt, at no point during the Phone Call did

Defendant’s agent disclose or explain to Mr. Bauereiss that by paying, or even just agreeing to

pay, any portion of the Subject Debt, or merely acknowledging the Subject Debt as valid, it could

have the effect of resetting the applicable statute of limitations as to the Subject Debt, potentially

subjecting Mr. Bauereiss to further legal liability.

  24. After a reasonable time to conduct discovery, Mr. Bauereiss believes he can prove that all

actions taken by Defendant as described in this complaint were taken willfully and/or with

knowledge that its actions were taken in violation of the law.

                                             DAMAGES

  25. Plaintiff was misled by Defendant’s collection activity.

  26. Plaintiff justifiably fears that, absent this Court’s intervention, Defendant will continue to

attempt to collect payment from him on time-barred debt(s) and ultimately cause unwarranted

harm to his credit or otherwise harm him economically.

  27. Plaintiff justifiably fears that, absent this Court’s intervention, Defendant will continue to

use unlawful methods and/or means in its attempts to collect the Subject Debt from him.

  28. As a result of Defendant’s conduct, Plaintiff was forced to hire counsel and his damages

therefore include reasonable attorneys’ fees incurred in prosecuting this claim.

  29. As a result of Defendant’s conduct, Plaintiff is entitled to statutory damages, punitive

damages and all other appropriate measures to punish and deter Defendant and other debt

collection agencies from engaging in the unlawful collection practices described in this complaint.

                                     GROUNDS FOR RELIEF

                                          COUNT I
                   VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. §§ 1692e, e(2)(A), e(10) and f


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   30.    All prior paragraphs are incorporated into this count by reference.

   31.    The FDCPA states, in relevant part:

                 “A debt collector may not use any false, deceptive, or misleading
                representation or means in connection with the collection of any debt.
                Without limiting the general application of the foregoing, the
                following conduct is a violation of this section: (2) The false
                representation of -- (A) the character, amount, or legal status of any
                debt; (10) The use of any false representation or deceptive means to
                collect or attempt to collect any debt or to obtain information
                concerning a consumer.” 15 U.S.C. §§ 1692e, e(2)(A) and e(10).

                “A debt collector may not use unfair or unconscionable means to
                collect or attempt to collect any debt.” 15 U.S.C. § 1692f.

    32.   Defendant violated 15 U.S.C. §§ 1692e, e(2)(A), e(10), and f during the Phone Call. The

Phone Call was unfair, deceptive and misleading because it: (i) created the false impression that

Defendant had chosen not to sue Plaintiff, rather than stating that Defendant was legally barred

from doing so; (ii) created the false impression that Defendant still had the ability to take legal

action on the Subject Debt, when in fact it did not; (iii) mischaracterized the legal status of the

Subject Debt; and (iv) failed to properly advise Plaintiff of the potential legal consequences of

arranging or making any payment towards the Subject Debt.

    33.   Defendant knew that the applicable statute of limitations for the Subject Debt had

expired, yet failed to provide complete and/or accurate disclosure of same to Plaintiff.

    34.   Defendant’s communications to Plaintiff were unfair, deceptive and misleading because

Defendant created the false impression that the Subject Debt was still legally collectible from

Plaintiff and/or that Defendant could still sue him for it if it chose to do so.

    35.   As an experienced debt collection agency, Defendant knows that the statements it makes

to consumers during its debt collection communications have to be true, complete and accurate,

especially when Defendant is attempting to collect a time-barred debt.             Defendant had an



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obligation to accurately alert Plaintiff as to his rights with respect to the subject time-barred debt,

but skirted this obligation with deceptive and misleading representations and/or omissions.

    36.   As set forth in paragraphs 25 through 29 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant’s unlawful collection activity as outlined in this

complaint.

                                       COUNT II
   VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                                   815 ILCS § 505/2

    37.   All prior paragraphs are incorporated into this count by reference.

    38.   Defendant’s collection activity in connection with the Subject Debt constitutes “conduct

of any trade or commerce” as that phrase is defined and/or used within the ICFA.

    39.   The ICFA states, in relevant part:

                “Unfair methods of competition and unfair or deceptive acts or
                practices, including but not limited to the use or employment of any
                deception, fraud, false pretense, false promise, misrepresentation or the
                concealment, suppression or omission of any material fact, with intent
                that others rely upon the concealment, suppression or omission of such
                material fact . . . in the conduct of any trade or commerce are hereby
                declared unlawful whether any person has in fact been misled, deceived
                or damaged thereby.” 815 ILCS § 505/2.

                “Any person who suffers actual damage as a result of a violation of this
                Act committed by any other person may bring an action against such
                person. The court, in its discretion may award actual economic damages
                or any other relief which the court deems proper.” 815 ILCS § 505/10a.

    40.   Defendant violated the ICFA, namely 815 ILCS § 505/2, by engaging in unfair, abusive,

and deceptive conduct in its transactions with Plaintiff by, inter alia: (i) creating the false

impression that Defendant had chosen not to sue Plaintiff, rather than stating that Defendant was

legally barred from doing so; (ii) creating the false impression that Defendant had the ability to

take legal action on the Subject Debt, when in fact it did not; (iii) mischaracterizing the legal status


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of the Subject Debt; and (iv) failing to properly advise Plaintiff of the potential legal consequences

of arranging or making any payment towards the Subject Debt.

    41.    Defendant knew that the Subject Debt was time-barred, yet failed to provide complete

and/or accurate disclosure of same to Plaintiff.

    42.    Defendant intended that Plaintiff rely on its misrepresentations and/or omissions in order

to procure immediate payment of the Subject Debt and/or prevent Plaintiff from exercising his

rights.

    43.        As set forth in paragraphs 25 through 29 above, Plaintiff has been harmed and has suffered

damages as a result of Defendant’s unlawful collection practices as described in this complaint.

    44.        As such, Plaintiff is entitled to relief pursuant to 815 ILCS § 505/10a.

    45.        Defendant’s actions as set forth in this complaint were malicious, willful and/or

undertaken with such reckless disregard of Plaintiff’s rights that malice may be inferred, subjecting

Defendant to liability for punitive damages under the ICFA in such an amount to be proved at trial.


                                          PRAYER FOR RELIEF

     WHEREFORE, Plaintiff, Kirby A. Bauereiss, respectfully requests that this Court enter

judgment in his favor as follows:

          A. Awarding Plaintiff actual damages, in such amounts as determined by the jury, as
             provided under 15 U.S.C. § 1692k and 815 ILCS § 505/10a;

          B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided under
             15 U.S.C. § 1692k(a)(2)(A);

          C. Awarding Plaintiff punitive damages, in such an amount as determined by the jury, as
             provided under 815 ILCS § 505/10a;

          D. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as provided
             under 15 U.S.C. § 1692k(a)(3) and 815 ILCS § 505/10a; and

          E.     Awarding Plaintiff such other and further relief as may be just and proper.


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DATED this 8th day of February, 2019.                 Respectfully Submitted,

                                                        /s/ Geoff B. McCarrell
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                                                      Counsel for Plaintiff




                                         JURY DEMAND

    Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                      /s/ Geoff B. McCarrell
                                                     Geoff B. McCarrell #0086427
                                                     CONSUMER LAW PARTNERS, LLC




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